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   1 Meir J. Westreich [CSB 73133]
     Attorney at Law
   2 221 East Walnut, Suite 200
     Pasadena, California 91101
   3 626.676.3585
     meirjw@aol.com
   4
   5   Attorney for Plaintiff s
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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10
  11    EDWARD HELDMAN III;                    )   Case No.
  12     COMEDYMX, INC., a                     )
         Nevada Corporation; and               )   COMPLAINT FOR BREACH OF
  13     COMEDYMX, LLC, a                      )   CONTRACT AND COVENANT OF
         Delaware Limited                      )   GOOD FAITH AND FAIR DEALING;
  14     Liability Company,                    )   BREACH OF FIDUCIARY DUTY;
                                               )   NEGLIGENCE - MALPRACTICE;
  15                               Plaintiffs, )   FRAUD
                                               )
  16    v.                                     )   JURY DEMANDED
                                               )
  17    LARRY ZERNER,                          )
                                               )
  18                              Defendant. )

  19                                    INTRODUCTION
  20         This is a diversity action stated in Breach of Contract and Covenant of Good
  21   Faith and Fair Dealing; Breach of Fiduciary Duty; Negligence - Malpractice; Fraud.
  22   Plaintiff is seeking money damages against Defendant attorney, in connection with
  23   a legal representation in an intellectual property case, in which Defendant failed to
  24   accurately inform and/or materially mislead Plaintiffs in connection with a settlement
  25   agreement; intentionally or negligently failed to competently and accurately draft the
  26   settlement documents; and refused to comply with Plaintiffs’ client directives in
  27   connection therewith. As a direct consequence, Plaintiffs were compelled to incur
  28   substantial additional legal fees and expenses with other legal counsel, and suffered
                                        COMPLAINT FOR DAMAGES
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   1   substantial business losses as well.    Plaintiffs have been damaged in excess of
   2   $75,000.
   3         Accordingly, Plaintiffs allege for their Complaint:
   4          COMMON JURISDICTIONAL AND PARTY ALLEGATIONS
   5         1. This is a diversity action at law to redress claims of Breach of Contract and
   6   Covenant of Good Faith and Fair Dealing; Breach of Fiduciary Duty; Negligence -
   7   Malpractice; Fraud by Defendant Lary Zerner.
   8         2. The jurisdiction of this Court is invoked under 28 U.S.C. §1332, this being
   9   an action between Arizona, Nevada and Delaware Plaintiffs and a California
  10   Defendant. The amount in controversy is in excess of $75,000, exclusive of interest
  11   and costs.
  12         3. Venue is properly located in the Central District of California because the
  13   claims in controversy were largely consummated in the Central District of California.
  14         4. Plaintiffs are Edward Heldman III, who is domiciled in the State of Arizona;
  15   Comedymx, Inc., which is incorporated in Nevada; and Comedymx, LLC, which is
  16   formed in Delaware. The companies also do business in New Jersey and Arizona.
  17         5. Defendants is Larry Zerner, who is domiciled in the State of California,
  18   where he is licensed as an attorney and practices law.
  19         6. The agreements mentioned herein, which form the basis of the contract and
  20   related claims, were formed in and under the laws of the State of California.
  21                  ALLEGATIONS RE CLAIMS AND LIABILITY
  22         7. At all relevant times herein, Defendant has acted as agent of and for
  23   Plaintiffs; and hence Defendant held fiduciary duties and obligations in favor of
  24   Plaintiffs in connection with the subject matter thereof.
  25         8. At all relevant times herein, the Plaintiffs and Defendant were in an
  26   attorney-client relationship.
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                                       COMPLAINT FOR DAMAGES
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   1          9. Plaintiffs are in the business of video publishing and distribution, owns
   2   hundreds of registered copyrights, and distributes their work mainly on YouTube and
   3   other platforms like Amazon.
   4          10. On October 9, 2015 Plaintiffs commenced a federal legal action entitled
   5   ComedyMX, Inc. v. St. Clair, United States District Court, Central District of
   6   California Case No. CV-16-03249 AGR [“Underlying Action”], over an intellectual
   7   property dispute and claims alleging inter alia copyright infringement by Bruce St.
   8   Clair, Joshua Dane St. Clair and the Cartoon Channel [“St. Clair Parties”] who
   9   eventually cross-claimed against all Plaintiffs herein.
  10          11. Specifically, the Underlying Action alleged that the St Clair Parties stole
  11   three of Plaintiffs’ copyrighted videos, put them into a massive compilation, and
  12   competed directly with Plaintiffs, stealing their revenue and making money on their
  13   property.
  14          12. On August 25, 2016, Plaintiff ComedyMX, Inc. retained Defendant to
  15   substitute in and represent them in the Underlying Action.
  16          13. In December 2016, the parties in the Underlying Action attended a
  17   mediation which reached substantial agreement, but did not achieve a settlement. An
  18   essential demand for Plaintiffs herein was prompt dismissal of the Underlying Action;
  19   a demand of the St. Clair Parties involved securing approvals of third parties. These
  20   demands appeared incompatible.
  21          14. Plaintiffs are informed and believe, and based thereon allege, that in
  22   January 2017, Defendant inquired of Google [in discussions re discovery subpoenas],
  23   whether as part of a settlement process [the previously unsuccessful mediation], the
  24   St. Clair Parties could remove a disputed video, modify it to remove copyright
  25   offending material, then post the new one while then keeping their viewcount and
  26   other stats.
  27          15.     Plaintiffs are informed and believe, and based thereon allege, that on
  28   January 25, 2017, Google confirmed that the St. Clair Parties could do so, with no
                                        COMPLAINT FOR DAMAGES
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   1   indication of whether Google would acquiesce if it was a point of conflict between
   2   the litigating parties, as the issue did not then arise because Google was told that
   3   counsel in the Underlying Action were in agreement.
   4         16. Plaintiffs are informed and believe, and based thereon allege, that on
   5   January 25, 2017, Defendant informed counsel for the St. Clair Parties in the
   6   Underlying Action, Stephen Doniger [“Doniger”], of his exchange with Google,
   7   including “keeping the stats and view count,” sharing the e-mail chain, and asking
   8   whether, with this, his clients still willing to settle on the terms discussed during the
   9   mediation.
  10         17. Plaintiffs are informed and believe, and based thereon allege, that on
  11   January 27, 2017, Google called Doniger to “walk him through the process” and
  12   Defendant arranged a tele-conference for February 2, 2017, involving himself,
  13   Google, Doniger and a representative of the St. Clair Parties; but not including any
  14   of the Plaintiffs herein, who receive no notice of its occurrence, from Defendant or
  15   otherwise [“Secret Tele-Conference”].
  16         18. Plaintiffs are informed and believe, and based thereon allege, that in the
  17   Secret Tele-conference, an oral ancillary agreement was reached that the action would
  18   not be dismissed unless and until the St. Clair Parties obtained certain required
  19   performance from Google, which was not a party to the Settlement Agreement or the
  20   Underlying Action, and from which there was no binding commitment of any kind.
  21   [“Oral Ancillary Agreement”].
  22         19. Plaintiffs would not have agreed to the Oral Ancillary Agreement, or any
  23   Settlement Agreement containing its terms; and Defendant was fully aware of this at
  24   all relevant times.
  25         20.    On February 23, 2017, Plaintiffs herein executed the Settlement
  26   Agreement drafted by Doniger and Defendant [“Settlement Agreement”]. It did not
  27   include any of the aforementioned assurances in the Oral Ancillary Agreement; and
  28   Plaintiffs were still ignorant of those assurances and of the Oral Ancillary Agreement,
                                        COMPLAINT FOR DAMAGES
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   1   and even its existence and the occurrence of the Secret Tele-Conference. Had
   2   Plaintiffs known of the Oral Ancillary Agreement or the Secret Tele-Conference, they
   3   would not have signed the Settlement Agreement; and Defendant was fully aware of
   4   this at all relevant times.
   5          21.   On March 1, 2017, the St. Clair Parties executed the Settlement
   6   Agreement.
   7          22. The Settlement Agreement provided as follows:
   8                 a.     Standard Terms. The Settlement Agreement contains an
   9   integration clause, i.e. it is the “entire agreement and understanding” that “supersedes
  10   and replaces all prior negotiations, agreements, and proposed agreements;” no
  11   “promise, representation, or warranty” has been made to “induce” the agreement and
  12   no party “executed this Agreement in reliance on any promise, representation, or
  13   warranty not contained herein.” The Settlement Agreement also provides that
  14   California law governs and that it “cannot be modified or changed except by written
  15   instrument signed by each of the Parties.”
  16                 b.     Operational Terms. The Settlement Agreement provides
  17   operational terms – the considerations therefor – as follows:
  18                        “1.1. Dismissal. Within five days of the date of this Agreement
  19   and St. Clair posting a compilation video that removes Daffy and the Dinosaur, the
  20   Parties, through their attorneys or record, shall file a stipulation for dismissal with
  21   prejudice.
  22                        “1.2. Fees and Costs. . . . .
  23                        “1.3. Daffy Cartoon. St. Clair agrees to remove the offending
  24   version of Daffy and the Dinosaur from the Compilation. If St. Clair posts a different
  25   version of Daffy and the Dinosaur [“a Different Version”] on YouTube or any other
  26   internet site, St. Clair will have to retain evidence that the Different Version is not,
  27   in fact, the offending version. St. Clair will share this evidence with ComedyMX at
  28   ComedyMX’s request.”
                                        COMPLAINT FOR DAMAGES
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   1                c.     The Settlement Agreement also provided that it is made and
   2   entered into effective as of January 26, 2017. Plaintiffs, ignorant of the Oral
   3   Ancillary Agreement and Secret Tele-Conference, did not know the significance of
   4   the date.
   5         23. The Settlement Agreement discussed the posting of a “Different Version”
   6   as a mere possibility on YouTube or other internet site [“if” clause]; it said nothing
   7   about “keeping view counts or other stats” with the posting of a Different Version;
   8   provided no explanation for an effective date of January 26, 2017, i.e. before it was
   9   drafted on January 27, 2017 or signed on February 23, 2017, by Plaintiffs, and/or on
  10   March 1, 2017, by the St. Clair Parties.
  11         24. Discussions of an intended posting of a Different Version while “keeping
  12   view counts or other stats” [January 2017 and January 25, 2017 - February 2, 2017]
  13   were confined to Defendant, Doniger, Google and the St. Clair Defendants, i.e. not
  14   including Plaintiffs herein, who at all relevant times remained ignorant thereof.
  15         25. Plaintiffs are informed and believe, and based thereon allege, that on April
  16   14, 2017, the removal of Daffy and the Dinosaur and posting of a Different Version
  17   occurred with the St. Clair Parties informing Google that their “views and positions
  18   in searching results from my original video could be transferred to the amended
  19   version.”
  20         26. Plaintiffs were then notified by the St. Clair Parties of the new posting on
  21   April 14, 2017. Hence, pursuant to the Settlement Agreement, dismissal of the action
  22   was then required by April 19, 2017.
  23         27. Plaintiffs are informed and believe, and based thereon allege, that on May
  24   3, 2017, however, Defendant wrote to Google, citing its performance as the “last
  25   piece to get the case settled and dismissed.” Plaintiffs were not then informed of this
  26   e-mail.
  27         28. Plaintiffs are informed and believe, and based thereon allege, that on May
  28   17, 2017, Doniger wrote to Google, citing its performance as being necessary, i.e.
                                       COMPLAINT FOR DAMAGES
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   1   “get the prior stats reinstated to the amended video” and that it is the “only thing
   2   holding up completion of the settlement.” Plaintiffs were not then informed of this
   3   e-mail.
   4         29. On May 25, 2017, Defendant and Doniger filed a “Notice of Conditional
   5   Settlement” stating that:
   6                “Pursuant to the terms of the conditional settlement, Defendants will
   7                post a modified [sic] to YouTube [Google] which removes one of the
   8                videos which allegedly infringed Plaintiff’s copyright. The parties are
   9                currently awaiting a response from YouTube allowing Defendants to
  10                post the modified video. The parties will file a dismissal upon receiving
  11                notice from YouTube approving the modified video.”
  12         30. The Notice of Settlement, which was concurrently reviewed by Plaintiffs,
  13   says nothing about “keep[ing the St. Clair Parties’ view counts or other stats” or
  14   getting “[the St. Clair Parties’] prior stats reinstated” in connection with the posting
  15   of the amended video.
  16         31. Commencing on a date no later than April 19, 2017, Plaintiffs repeatedly
  17   instructed Defendant to press, by all available legal means, for immediate dismissal
  18   of the Underlying Action. Defendant did not do so.
  19         32. Plaintiffs are informed and believe, and based thereon allege, that finally,
  20   on July 10, 2017, Defendant suggested to Doniger that counsel dismiss first the
  21   Underlying Action, and followup with Google later, which did not happen.
  22   Defendant still refused to act to compel the dismissal, despite instructions from
  23   Plaintiffs to do so.
  24         33. On July 21, 2017, Plaintiffs retained new counsel to enforce the dismissal
  25   clause of the Settlement Agreement, who then demanded that Doniger execute the
  26   dismissal, given the posting of the April 14, 2019 Compilation.
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                                        COMPLAINT FOR DAMAGES
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   1         34. When Doniger cited the Oral Ancillary Agreement, new counsel thereafter
   2   contended that Defendant had no authority to bind Plaintiffs as to any settlement
   3   provisions other than those expressly stated in the Settlement Agreement.
   4         35. Plaintiffs are informed and believe, and based thereon allege, that on July
   5   24, 2017, Doniger responded that they “need our clients’ stats from before his video
   6   was taken down to be reinstated as we were told they would be” and “that is the only
   7   reason he [St. Clair] agreed to enter into the settlement.”
   8         36. Plaintiffs are informed and believe, and based thereon allege, that on July
   9   25, 2017, Google confirmed the posting of the St. Clair Parties’ “video replacement,
  10   which preserves the views and other metadata of the original video” and commenced
  11   implementation on August 7, 2017.
  12         37. On August 9, 2017, with still no dismissal of the Underlying Action,
  13   Plaintiffs – via their new counsel – rescinded the Settlement Agreement based on
  14   breach thereof by the failure to dismiss the Underlying Action, and repudiated the
  15   new video with its “preserve[d] view [count]s and other metadata of the original
  16   video” by posting a new DMCA takedown of the April 14, 2017 Compilation,
  17   compelling its takedown.
  18         38. Plaintiffs are informed and believe, and based thereon allege, that on
  19   August 10, 2017, Google informed the St. Clair Parties that it is ready to complete the
  20   video swap.
  21         39. On August 11, 2017, Google confirmed compliance with the new DMCA
  22   takedown notice.
  23         40. Thereafter, the St. Clair Parties and Doniger demanded removal of the new
  24   DMCA takedown notice. When Plaintiffs failed to do so, the St. Clair Parties and
  25   Doniger moved for enforcement of what they called the Settlement Agreement, but
  26   actually were seeking enforcement of the Oral Ancillary Agreement.
  27         41. On September 21, 2018, the Court ruled that the failure to timely dismiss
  28   the action was not adequate grounds to rescind the Settlement Agreement or relieve
                                       COMPLAINT FOR DAMAGES
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   1   Plaintiffs of the obligations thereunder or – implicitly – under the Oral Ancillary
   2   Agreement; and ruled that Defendant had legal authority to bind his clients to the
   3   additional terms that the St. Clair Parties’ performance was conditioned on their
   4   succeeding in not only posting a new video, but also obtaining from Google its view
   5   counts and other metadata of the original video.
   6         42. On September 21, 2018, the Court ordered Plaintiffs to remove its DMCA
   7   takedown notice from the April 14, 2017 Compilation, and to then file a Notice of
   8   Compliance within 14 days of the order, at which time the Underlying Action would
   9   be dismissed with prejudice.
  10         43. Over the next year, Plaintiffs were forced to retain and pay multiple
  11   counsel to resist the latter order and undo the legal mess created by Defendant, until
  12   finally the action was dismissed on September 3, 2019, pursuant to a newly drafted
  13   Settlement Agreement [“Final Settlement Agreement”] containing terms acceptable
  14   to Plaintiffs. The additional legal fees incurred because of Defendant’s misconduct
  15   – acts and omissions – exceed $275,000, i.e. beyond the approximately $29,000
  16   Plaintiffs paid to Defendant.
  17         44.    During the period when the Underlying Action should have been
  18   dismissed, on April 19, 2017, and its final dismissal on September 3, 2019, Plaintiffs
  19   incurred substantial business losses caused by Defendant’s misconduct – acts and
  20   omissions – which exceed an estimated $400,000, which loss figure will be calculated
  21   according to proof, including by an appropriate expert.
  22         45. Under the Retainer Agreement signed by the parties herein and the
  23   covenant of good faith and fair dealing implied therein, under California ethical rules
  24   governing the conduct of licensed attorneys with their clients, and under duties of an
  25   agent and fiduciary, Defendant was expressly obliged to: (a) keep the promisee,
  26   client, principal and beneficiary, i.e. Plaintiffs, fully informed of all material matters
  27   affecting any settlement process, agreement and/or implementation; and (b) respect
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                                        COMPLAINT FOR DAMAGES
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    1   the ultimate decision-making authority of – and comply with the lawful directives of
    2   – the promisee, client, principal and beneficiary, i.e. Plaintiffs.
    3         46. At all relevant times under this Complaint, Plaintiffs and each of them
    4   were the promisee, client, principal, and beneficiary of Defendant; and Defendant was
    5   the promisor, attorney, principal and fiduciary of Plaintiffs and each of them.
    6         47. Plaintiffs and each of them have/has at all times complied with Client
    7   duties and obligations under the Retainer Agreement, and performed all promises
    8   made by them; have/has been ready, willing and able to complete performance
    9   thereunder; and/or has clearly and explicitly manifested this to Defendant.
   10         48. In connection with settlement matters in the Underlying Action, Defendant
   11   has materially breached the material terms of the contract between Plaintiffs and
   12   Defendant, and Plaintiffs were damaged [contract] thereby.
   13         49. In connection with the contract between Plaintiffs and Defendant, there is
   14   a covenant of good faith and fair dealing, implied by law.
   15         50. Said covenants include that the Defendant would keep Plaintiffs fully
   16   informed re all material matters in connection with the representation; would deal
   17   honestly and in good faith with and for Plaintiffs; would afford Plaintiffs with the
   18   loyalty to clients required of all attorneys; and would respect the clients’ rights and
   19   authority in connection with their substantial interests.
   20         51. In connection with settlement matters in the Underlying Action, Defendant
   21   repeatedly and materially breached these covenants, to the substantial damage
   22   [contract and tort] to Plaintiffs.
   23         52. An attorney is an agent to the client-principal, and as an agent is a
   24   fiduciary with the attendant duties of a fiduciary, including duties of loyalty and
   25   honesty, and the duty to disclose to the client-principal all matters which a similarly
   26   situated reasonable person would desire to know in the conduct of his affairs.
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                                             COMPLAINT FOR DAMAGES
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    1         53. In connection with settlement matters in the Underlying Action, Defendant
    2   repeatedly and materially breached these fiduciary duties, to the substantial damage
    3   [contract and tort] to Plaintiffs.
    4         54. As an attorney, Defendant had a duty of care in the conduct of the legal
    5   representation and handling of the legal affairs of his clients.
    6         55.      In connection with settlement matters in the Underlying Action,
    7   Defendant’s conduct, by his acts and omissions, has been negligent, i.e. it has fallen
    8   below the standard of care for attorneys in such matters and constitutes attorney
    9   malpractice.
   10         56.      In connection with settlement matters in the Underlying Action,
   11   Defendant’s representations to Plaintiffs in and concerning the Retainer Agreement,
   12   and his duties and obligations thereunder, were at all times knowingly and/or
   13   intentionally false, with the intent and effect of defrauding Plaintiffs.
   14         57. Plaintiffs reasonably relied upon the promises and representations of
   15   Defendant, to Plaintiffs’ substantial detriment; and Plaintiffs’ reliance upon the
   16   promises and representations of Defendant was reasonable under the totality of the
   17   circumstances then known to Plaintiffs, and Plaintiffs were damaged [tort] thereby.
   18         58. Plaintiff has also incurred substantial consequential damages arising from
   19   the aforementioned breaches of duties and torts, in an amount according to proof.
   20         59. Defendant has acted with malice and in breach of fiduciary duties to
   21   Plaintiffs, and hence Plaintiffs are entitled to treble and/or punitive damages from
   22   Defendant.
   23                             ALLEGATION RE DAMAGES
   24         60.    As a consequence of the statements, acts and/or omissions of the
   25   Defendant, in respect to each claim, Plaintiffs have incurred monetary damages as
   26   above described, as well as other consequential damages caused by the acts and
   27   omissions of said Defendant, in an amount to be proved at trial.
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                                             COMPLAINT FOR DAMAGES
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    1            61. Plaintiffs have incurred, and continue to incur, substantial emotional
    2   distress from the fraudulent and other tortious conduct of Defendant, proximately
    3   caused by the acts and omissions of said Defendant, in an amount to be proved at
    4   trial.
    5            62. Defendant, in engaging in the aforementioned fraudulent and other tortious
    6   conduct, acted with malice. Plaintiffs are entitled to recover treble and/or punitive
    7   damages from Defendant, in an amount to be proved at trial.
    8            63. The Retainer Agreement between Plaintiffs and Defendant provides for
    9   prevailing party contract attorney fees, and hence Plaintiffs are entitled to recover
   10   their reasonable attorney fees incurred herein.
   11                                           PRAYER
   12            WHEREFORE, Plaintiffs seek judgment against Defendant for:
   13            1. Special and actual damages, according to proof;
   14            2. Consequential damages, according to proof;
   15            3. Compensatory damages, according to proof;
   16            4. Contract attorney fees, according to proof;
   17            5. Punitive and/or treble damages, according to proof;
   18            6. For such further relief as the Court may deem necessary and proper.
   19
        Dated: September 21, 2019                   Respectfully submitted,
   20
                                                          s/ Meir J. Westreich
   21                                               ____________________________
                                                    Meir J. Westreich
   22
                                                    Attorney for Plaintiffs
   23
                 Plaintiffs demand trial by jury.
   24
        Dated: September 21, 2019
   25                                                     s/ Meir J. Westreich
                                                    ____________________________
   26                                               Meir J. Westreich
                                                    Attorney for Plaintiffs
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                                          COMPLAINT FOR DAMAGES
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